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     17-00025-5-SWH Doc
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  SO ORDERED.

  SIGNED this 28 day of April, 2017.


                                         ___________________________________________
                                                   Stephani W. Humrickhouse
                                                 United States Bankruptcy Judge

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